Case 17-42346-bem   Doc 47   Filed 04/06/18 Entered 04/06/18 11:58:21       Desc Main
                             Document     Page 1 of 4




   IT IS ORDERED as set forth below:



   Date: April 6, 2018
                                              _________________________________

                                                       Barbara Ellis-Monro
                                                  U.S. Bankruptcy Court Judge


 ________________________________________________________________
Case 17-42346-bem   Doc 47   Filed 04/06/18 Entered 04/06/18 11:58:21   Desc Main
                             Document     Page 2 of 4
Case 17-42346-bem   Doc 47   Filed 04/06/18 Entered 04/06/18 11:58:21   Desc Main
                             Document     Page 3 of 4
Case 17-42346-bem   Doc 47   Filed 04/06/18 Entered 04/06/18 11:58:21   Desc Main
                             Document     Page 4 of 4
